AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                   Middle District
                                                  __________       of North
                                                               District     Carolina
                                                                        of __________


                         Julia Graves                              )
                             Plaintiff                             )
                                v.                                 )      Case No.     1:19-CV-316
                    Durham County et al                            )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Julia Graves                                                                                                          .


Date:          03/27/2019                                                                        Ian A Mance
                                                                                              Attorney’s signature


                                                                                      Ian A Mance, NC Bar No. 46589
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                    Case 1:19-cv-00316-TDS-JLW Document 6 Filed 03/27/19 Page 1 of 1
